                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

SARA CARTER,                                 )
                                             )
       Plaintiff,                            )
                                             )   No. 5:11-cv-465
       vs.                                   )
                                             )
ABSOLUTE COLLECTION SERVICE,             )
INC.                                         )
                                             )
       and                                   )
                                             )
PATIENT FINANCIAL SERVICES,                  )   SATISFACTION OF JUDGMENT
INC.,                                        )
                                             )
       Defendants.                           )


       Now comes the Plaintiff, SARA CARTER, by and through her attorneys, and hereby

advises the Court that the judgment entered on September 6, 2012, docket number 5:11-cv-465,

has been satisfied.



                                                 Respectfully submitted,

                                                 /s/ Mitchel E. Luxenburg
                                                 Mitchel E. Luxenburg (42021)
                                                 Luxenburg & Levin, LLC
                                                 Attorney for Plaintiff
                                                 23875 Commerce Park
                                                 Suite 105
                                                 Beachwood, OH 44122
                                                 (888) 493-0770, ext. 301 (phone)
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                                                 Mitch@LuxenburgLevin.com




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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

SARA CARTER,                                     )
                                                 )
       Plaintiff,                                )
                                                 )    No. 5:11-cv-465
       vs.                                       )
                                                 )
ABSOLUTE COLLECTION SERVICE,                 )
INC.                                             )
                                                 )
       and                                       )
                                                 )
PATIENT FINANCIAL SERVICES,                      )
INC.,                                            )
                                                 )
       Defendants.                               )


                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 7, 2013, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system. And I hereby certify that I have mailed the document to the

following non CM/ECF participants:

               Absolute Collection Services, Inc.
               421 Fayetteville Street Mall
               Suite 600
               Raleigh, NC 27601

               Patient Financial Service, Inc.
               421 Fayetteville Street Mall
               Suite 500
               Raleigh, NC 27601




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                                Respectfully submitted,


                                /s/ Mitchel E. Luxenburg
                                Mitchel E. Luxenburg
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